Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 1 of 21 Page ID #:2455




     1
     2
     3
     4
     5
     6                             UNITED STATES DISTRICT COURT
     7                           CENTRAL DISTRICT OF CALIFORNIA
     8                                  WESTERN DIVISION
     9 VITAL PHARMACEUTICALS, INC.
       d/b/a Bang Energy; JHO                    Case No. 2:20-cv-06745-RSWL-JCx
    10
       INTELLECTUAL PROPERTY
    11 HOLDINGS,
    12
                         Plaintiffs,             DISCOVERY MATTER
    13
                                                 STIPULATED PROTECTIVE
                  v.
    14                                           ORDER
    15 PHD MARKETING, INC.; DOES 1 to            [CHANGES MADE BY COURT TO
       10,                                       PARAGRAPHS 3, 6, 7.1, 8, 9 & 12.3]
    16
    17                   Defendants.
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28

         QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 2 of 21 Page ID #:2456




     1                               [PROPOSED] PROTECTIVE ORDER
     2      1.       A.       Purposes and Limitations
     3               Disclosure and discovery activity in this action will likely involve
     4      producing confidential, proprietary, or private information for which special
     5      protection from public disclosure and from use for any purpose other than
     6      prosecuting this litigation may be warranted. Accordingly, the Parties stipulate to
     7      and petition the Court to enter the following Stipulated Protective Order. The
     8      Parties acknowledge that this Order does not confer blanket protections on all
     9      disclosures or responses to discovery and that the protection it affords from public
    10      disclosure and use extends only to the limited information or items that are entitled
    11      to confidential treatment under the applicable legal principles. The Parties further
    12      acknowledge, as set forth in 12.3, below, that this Stipulated Protective Order does
    13      not entitle them to file confidential information under seal without further order
    14      of the Court; Civil Local Rule 79-5 sets forth the required procedures and
    15      standards that will be applied when a party seeks permission from the Court to file
    16      material under seal. Any use of Protected Material at trial will be governed by a
    17      separate agreement or order.
    18                   B.   Good Cause Statement
    19               This action is likely to involve trade secrets, customer and pricing lists and
    20      other valuable research, development, commercial, financial, and/or proprietary
    21      information for which special protection from public disclosure and from use for
    22      any purpose other than prosecution of this action is warranted. Further, the Parties
    23      anticipate that Non-Party information may be produced in this action.
    24               Without prejudice to any Party's right to object to or resist disclosure of
    25      such categories of information on relevance or any other grounds, the Parties
    26      currently anticipate that categories of such trade secret, proprietary,
    27      confidential and/or private documents and other information that may be disclosed
    28      in discovery by the Parties and by Non-Parties will or may include:

                                                       2
         QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 3 of 21 Page ID #:2457




     1               (1)   Confidential business or financial information that is not generally
     2      known to the trade or competitors, including financial data at a level of detail
     3      beyond that disclosed to the public and financial information relating to specific
     4      sales, costs and profits, and pricing strategies for specific products and product
     5      lines;
     6               (2)   Information regarding confidential business practices, or other
     7      confidential research, development, or commercial information, including
     8      confidential business, marketing, or sales plans and product information that are
     9      not generally known to the trade or to competitors, including non-public
    10      information relating to product development and design;
    11               (3)   Commercially sensitive information regarding the development,
    12      production, marketing, branding, sales or promotion of the Party's products or
    13      finances, the disclosure of which would harm the competitive position of the Party
    14      or Non-Party from which the information is obtained;
    15               (4)   Information implicating privacy rights of third parties, including
    16      information received from a Non-Party that a Party is required to disclose only
    17      under conditions of confidentiality;
    18               (5)   Information otherwise unavailable to the public, or which may be
    19      privileged or otherwise protected from disclosure under state or federal statutes,
    20      court rules, case decisions, or common law.
    21               Accordingly, to expedite the flow of information, facilitate the prompt
    22      resolution of disputes over confidentiality of discovery materials, adequately
    23      protect information the parties are entitled to keep confidential, ensure that the
    24      parties are permitted reasonable necessary uses of such material in preparation for
    25      and in the conduct of trial, address their handling at the end of the litigation, and
    26      serve the ends of justice, and believing that good cause exists, a protective order
    27      for such information is justified in this matter. The Parties intend that information
    28      will not be designated as confidential for tactical reasons and that nothing be so

                                                     3
         QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 4 of 21 Page ID #:2458




     1      designated without a good faith belief that it has been maintained in a confidential,
     2      non-public manner, and there is good cause why it should not be part of the public
     3      record of this case.
     4      2.       Definitions
     5               2.1   Challenging Party: A Party or Non-Party that challenges the
     6       designation of information or items under this Order.
     7               2.2   “CONFIDENTIAL” Information or Items: Information that falls
     8      within one of the categories set forth under the Good Cause statement.
     9              2.3    “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or
    10      Items: Extremely sensitive “Confidential Information or Items” which would
    11      create a substantial risk of serious harm if it were disclosed to another Party or
    12      Non-Party.
    13               2.4   Counsel (without qualifier): Outside Counsel of Record and House
    14      Counsel, including their support staff.
    15               2.5   Designating Party: A Party or Non-Party that designates information
    16      or items that it produces in disclosures or in responses to discovery as
    17      “CONFIDENTIAL” or “CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
    18               2.6   Disclosure or Discovery Material: All items or information (e.g.,
    19      testimony, transcripts, and tangible things) that are produced or generated in
    20      disclosures or responses to discovery in this matter, regardless of the medium or
    21      manner in which it is generated, stored, or maintained.
    22               2.7   Expert: A person with specialized knowledge or experience in a
    23      matter pertinent to the litigation who (1) has been retained by a Party to serve as
    24      an expert witness or as a consultant in this action, (2) is not a current officer,
    25      director or employee of a Party or of such Party’s competitor, and (3) at the time
    26      of retention or the time of disclosure of Protected Material, is not anticipated to
    27      become an officer, director or employee of a Party or of such Party’s competitor.
    28      ///

                                                      4
         QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 5 of 21 Page ID #:2459




     1              2.8      House Counsel: Attorneys who are employees of a Party. House
     2       Counsel does not include Outside Counsel of Record or any other outside counsel.
     3              2.9      Non-Party: Any natural person, partnership, corporation, association,
     4       or other legal entity not named as a Party.
     5              2.10 Outside Counsel of Record: Attorneys who are not employees of a
     6       Party but are retained to represent or advise a Party and have appeared in this
     7       action on behalf of that Party or are affiliated with a law firm which has appeared
     8       on behalf of that Party.
     9              2.11 Party: Any party to this action, including all of its officers, directors,
    10       employees, consultants, retained experts, and Outside Counsel of Record, and
    11       their support staffs.
    12              2.12 Producing Party: A Party or Non-Party that produces Disclosure or
    13       Discovery Material.
    14              2.13 Professional Vendors: Persons or entities that provide litigation
    15       support services (e.g., photocopying, videotaping, translating, preparing exhibits
    16       or demonstrations, and organizing, storing, or retrieving data) and their
    17       employees and subcontractors.
    18              2.14 Protected Material: Any Disclosure or Discovery Material, pleading,
    19       or other document or information that is designated as “CONFIDENTIAL,” or
    20       as “CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
    21              2.15 Receiving Party: A Party that receives Disclosure or Discovery
    22       Material from a Producing Party.
    23       3.      Scope
    24                   This Stipulation and Order covers Protected Material and (1) any
    25       information copied or extracted from Protected Material; (2) all copies, excerpts,
    26       summaries, or compilations of Protected Material; and (3) any testimony,
    27       conversations, or presentations by Parties or their Counsel that might reveal
    28       Protected Material other than during a court hearing or at trial. However, this

                                                        5
         QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 6 of 21 Page ID #:2460




     1       Stipulation and Order does not cover: (a) any information that is in the public
     2       domain at the time of disclosure to a Receiving Party or becomes part of the
     3       public domain after its disclosure to a Receiving Party as a result of publication
     4       not involving a violation of this Order; and (b) any information known to the
     5       Receiving Party prior to the disclosure or obtained by the Receiving Party after
     6       the disclosure from a source who obtained the information lawfully and under no
     7       obligation of confidentiality to the Designating Party. Any use of Protected
     8       Material at trial shall be governed by a separate agreement or order.
     9       4.      Duration
    10               Even after final disposition of this litigation, the confidentiality obligations
    11      imposed by this Order shall remain in effect until a Designating Party agrees
    12      otherwise in writing or a court order otherwise directs. Final disposition shall be
    13      deemed to be the later of (1) dismissal of all claims and defenses in this action,
    14      with or without prejudice; and (2) final judgment after the completion and
    15      exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,
    16      including the time limits for filing any motions or applications for extension of
    17      time pursuant to applicable law.
    18      5.       Designating Protected Material
    19               5.1      Exercise of Restraint and Care in Designating Material for
    20      Protection. Each Party or Non-Party that designates information or items for
    21      protection under this Order must take care to limit any such designation to specific
    22      material that qualifies under the appropriate standards. To the extent it is practical,
    23      the Designating Party must designate for protection only those parts of material,
    24      documents, items, or oral or written communications that qualify.
    25                   Mass, indiscriminate, or routinized designations are prohibited.
    26      Designations that are shown to be clearly unjustified or that have been made for
    27      an improper purpose (e.g., to unnecessarily encumber the case development
    28      ///

                                                       6
         QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 7 of 21 Page ID #:2461




     1      process or to impose unnecessary expenses and burdens on other parties) may
     2      expose the Designating Party to sanctions.
     3               5.2   Manner and Timing of Designations. Except as otherwise provided
     4      in this Order, or stipulated or ordered, Disclosure or Discovery Material that
     5      qualifies for protection under this Order must be clearly designated before the
     6      material is disclosed or produced. Nothing in this Order shall prevent a
     7      Designating Party from using and disclosing its Protected Material in any way.
     8      Nothing is this Order shall restrict any Counsel from advising their client with
     9      respect to this action and from relying in a general way upon an examination of
    10      information designated pursuant to this Order in giving such advice; provided,
    11      however, that in giving such advice and communicating with the client, Counsel
    12      shall not disclose the substance or contents of any “CONFIDENTIAL –
    13      ATTORNEYS EYES ONLY” information except to persons permitted such
    14      access under this Order.
    15               Designation in conformity with this Order requires:
    16               (a) Documents or Things. “CONFIDENTIAL” or “CONFIDENTIAL –
    17      ATTORNEYS’ EYES ONLY” treatment is obtained by typing or stamping
    18      “CONFIDENTIAL” or “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” on
    19      the particular document or thing.
    20               (b) Interrogatory Answers and Responses to Requests for Admissions. In
    21      answering any interrogatory or request for admission, or any part, a Party may
    22      designate its answer as “CONFIDENTIAL” or “CONFIDENTIAL –
    23      ATTORNEYS’ EYES ONLY” by affixing the legend “CONFIDENTIAL” or
    24      “CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Such “CONFIDENTIAL”
    25      or “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” answers shall be made on
    26      separate pages from any other answers or portions that are not designated as
    27      “CONFIDENTIAL” or “CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
    28      ///

                                                     7
         QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 8 of 21 Page ID #:2462




     1               (c) Deposition Testimony. Any Party or Non-Party giving deposition
     2      testimony      may        obtain    “CONFIDENTIAL”          or    “CONFIDENTIAL     –
     3      ATTORNEYS’ EYES ONLY” treatment by designating the testimony that is
     4      claimed to be “CONFIDENTIAL” or “CONFIDENTIAL – ATTORNEYS’
     5      EYES ONLY” during the course of that testimony. The reporter shall separately
     6      transcribe and bind the testimony so designated as “CONFIDENTIAL” and
     7      “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” and shall mark the face of
     8      the separate bound transcript with the term “CONFIDENTIAL” or
     9      “CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” During the course of
    10      deposition testimony, if any Party or Non-Party reasonably believes that the
    11      answer to a question will result in the disclosure of “CONFIDENTIAL” or
    12      “CONFIDENTIAL ATTORNEYS’ EYES ONLY” information, all persons must
    13      be excluded from the room in which the deposition testimony is given, except
    14      those persons entitled to receive such information pursuant to paragraphs 7.2 and
    15      7.3. Unless previously designated as “CONFIDENTIAL” or “CONFIDENTIAL
    16      – ATTORNEYS’ EYES ONLY,” all transcripts of deposition testimony, any
    17      related exhibits, and all information adduced in deposition, shall be treated as
    18      “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in their entirety for a period
    19      of fourteen (14) calendar days after receipt of the transcript by Counsel for the
    20      Designating Party. Within that fourteen (14) calendar day period, the Designating
    21      Party may designate information contained in the transcript(s) and/or exhibit(s) as
    22      “CONFIDENTIAL”               or    “CONFIDENTIAL—ATTORNEYS’ EYES ONLY”
    23      (whether or not previously designated as such) by notifying all Parties in writing
    24      of the portions of the transcript or exhibit which contain such information. Each
    25      Party shall attach a copy of such written statement to the face page of the transcript
    26      or exhibit and to each copy in their possession, custody or control. These portions
    27      of     the   transcript     or     exhibits   designated   as    “CONFIDENTIAL”    or
    28      “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” shall be treated in

                                                           8
         QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 9 of 21 Page ID #:2463




     1      accordance with the terms of this Protective Order. In addition, the provisions of
     2      Paragraph 5.2(e) for later designating transcripts or exhibits shall apply after the
     3      expiration of the fourteen (14) calendar day period described in this Paragraph
     4      5.2(c).
     5               (d) In the case of disks, tapes, CD-ROMs, DVDs and other tangible storage
     6      media or devices, labeling, stamping or marking the outside of such disk, tape,
     7      CD-ROM, DVD or other medium or device with the legend “CONFIDENTIAL”
     8      or “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” has the effect of
     9      designating the entire contents and all stored data, as “CONFIDENTIAL” or
    10      “CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
    11               (e) Except as otherwise provided in this Protective Order, the Receiving
    12       Party shall not reveal any information produced for a period of seven (7) calendar
    13       days following receipt. Failure to designate a document, thing or other
    14       information as “CONFIDENTIAL” or “CONFIDENTIAL – ATTORNEYS’
    15       EYES ONLY” in accordance with this Protective Order shall not preclude any
    16       Party or Non-Party desiring to so designate the document, thing or information
    17       from so designating thereafter; provided that after discovering any omission of
    18       marking, the Party or Non-Party promptly and in good faith marks the document,
    19       thing or other information and makes a written request that each Receiving Party
    20       so mark and treat the document, thing or other information in accordance with
    21       this Protective Order. Thereafter, the document, thing or other information shall
    22       be fully subject to this Protective Order. No Party shall incur liability for any
    23       disclosures made prior to notice of such designation, except to the extent that any
    24       such disclosures occurred prior to the time periods proscribed by this Protective
    25       Order, including the time periods provided in Paragraph 5.2(c).
    26                   5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
    27       failure to designate qualified information or items does not, standing alone, waive
    28       the Designating Party’s right to secure protection under this Order for such

                                                         9
         QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 10 of 21 Page ID
                                 #:2464



  1       material. Upon timely correction of a designation, the Receiving Party must make
  2       reasonable efforts to assure that the material is treated in accordance with the
  3       provisions of this Order.
  4       6.      Challenging Confidentiality Designations
  5               If a Party contends that any “CONFIDENTIAL” or “CONFIDENTIAL –
  6      ATTORNEY’S EYES ONLY” designation has been erroneously or improperly
  7      made, the material at issue shall be treated as “CONFIDENTIAL” or
  8      “CONFIDENTIAL – ATTORNEY’S EYES ONLY,” as the case may be, under
  9      the terms of this Order until (i) the Parties reach a written agreement or (ii) this
 10      Court issues an order determining that the material is not entitled to the level of
 11      protection to which it is entitled under the Designating Party’s designation. If the
 12      counsel for a Party receiving material designated as “CONFIDENTIAL” or
 13      “CONFIDENTIAL – ATTORNEY’S EYES ONLY” objects to such designation,
 14      said counsel shall advise counsel for the Designating Party in writing of such
 15      objections, the specific designated material (identified by Bates number, if
 16      possible) to which each objection pertains, and the specific reasons and support
 17      for such objections (the “Designation Objections”). Counsel for the Designating
 18      Party shall have twenty-one (21) days from receipt of the written Designation
 19      Objections to respond in writing as to whether the designations will be maintained
 20      or withdrawn. If the Designating Party does not withdraw the designation(s), the
 21      Parties shall meet and confer in good faith to discuss the Designation Objections
 22      and attempt to resolve the dispute, within ten (10) days of the Designating Party’s
 23      response.
 24            If the Parties cannot resolve the dispute regarding the designation pursuant
 25      to any or all of the Designation Objections, the Challenging Party may file a
 26      motion with the Court seeking an order to de-designate any of the challenged
 27      designations set forth in the Designation Objections (the “Designation Challenge
 28      Motion”). The Designation Challenge Motion must be filed, if at all, in accordance

                                                10
      QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 11 of 21 Page ID
                                 #:2465



  1      with Local Rules 37-1, et seq., and not later than fourteen (14) court days after the
  2      Parties’ meet and confer. Unless and until the Court orders the challenged
  3      designations stricken on resolution of the Designation Challenge Motion, the
  4      Designating Party is presumed to have designated as “CONFIDENTIAL” or
  5      “CONFIDENTIAL – ATTORNEY’S EYES ONLY” in good faith and any and all
  6      existing challenged designations in such Motion shall remain in place. The
  7      Designating Party shall have the burden of establishing the applicability of its
  8      “CONFIDENTIAL” or “CONFIDENTIAL – ATTORNEY’S EYES ONLY”
  9      designation. Frivolous challenges and those made for an improper purpose (e.g., to
 10      harass or impose unnecessary expenses and burdens on other parties) may expose
 11      the Challenging Party to sanctions. Nothing in this Order shall constitute a waiver
 12      of any Party’s right to object to the designation or non-designation of documents or
 13      information as “CONFIDENTIAL” or “CONFIDENTIAL – ATTORNEY’S EYES
 14      ONLY.”
 15                   The burden of persuasion in any such challenge proceeding shall be on the
 16      Designating Party. Frivolous challenges, and those made for an improper purpose
 17      (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
 18      expose the Challenging Party to sanctions. Unless the Designating Party has waived
 19      or withdrawn the confidentiality designation, all parties shall continue to afford the
 20      material in question the level of protection to which it is entitled under the
 21      Producing Party’s designation until the Court rules on the challenge.
 22      7.       Access To and Use of Protected Material
 23               7.1      Basic Principles. A Receiving Party may use Protected Material that
 24      is disclosed or produced by another Party or by a Non-Party in connection with
 25      this case only for prosecuting, defending, or attempting to settle this Action. Such
 26      Protected Material may be disclosed only to the categories of persons and under
 27      the conditions described in this Order. When the litigation has been terminated, a
 28      ///

                                                    11
      QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 12 of 21 Page ID
                                 #:2466



  1      Receiving Party must comply with the provisions of section 13 below (Final
  2      Disposition).
  3               Protected Material must be stored and maintained by a Receiving Party at
  4      a location and in a secure manner that ensures that access is limited to the persons
  5      authorized under this Order.
  6                   7.2   Disclosure of “CONFIDENTIAL” Information or Items. Unless
  7       otherwise ordered by the Court or agreed to by the Designating Party, a Receiving
  8       Party may disclose any information or item designated “CONFIDENTIAL” only
  9       to:
 10               (a) the Receiving Party’s Outside Counsel of Record and their employees
 11      to whom it is reasonably necessary to disclose the information for this litigation;
 12               (b) the officers, directors, and employees (including House Counsel) of
 13      the Receiving Party to whom disclosure is reasonably necessary for this litigation
 14      and who have signed the “Acknowledgment and Agreement to Be Bound”
 15      (Exhibit A);
 16               (c) Experts (as defined in this Order) of the Receiving Party to whom
 17      disclosure is reasonably necessary for this litigation and who have signed the
 18      “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 19               (d) the Court, jury, and court personnel;
 20               (e) court reporters and their staff;
 21               (f) professional jury or trial consultants, and Professional Vendors to
 22      whom disclosure is reasonably necessary for this litigation and who have signed
 23      the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 24               (g) during their depositions, (i) the Designating Party or (ii) witnesses in
 25      the action to whom disclosure is reasonably necessary and who have either signed
 26      the “Acknowledgment and Agreement to Be Bound” (Exhibit A) or who
 27      acknowledge on the record and under oath under penalty of perjury his or her
 28      obligation to maintain the confidentiality of the “CONFIDENTIAL” information

                                                    12
      QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 13 of 21 Page ID
                                 #:2467



  1       subject to sanctions and punishment before the Court in the nature of contempt
  2       for failure to so comply, unless otherwise agreed by the Designating Party or
  3       ordered by the Court. Pages of transcribed deposition testimony or exhibits to
  4       depositions that reveal Protected Material must be separately bound by the court
  5       reporter and may not be disclosed to anyone except as permitted under this
  6       Stipulated Protective Order. Witnesses shown Protected Material shall not be
  7       allowed to retain copies;
  8               (h) the author or recipient of a document containing the information or a
  9       custodian or other person who otherwise possessed or knew the information;
 10               (i) mock jurors who have signed an undertaking or agreement agreeing not
 11       to publicly disclose Protected Material and to keep any information concerning
 12       Protected Material confidential; and
 13               (j) any mediator assigned to hear this matter, and his or her staff, subject
 14       to their agreement to maintain confidentiality to the same degree as required by
 15       this Protective Order.
 16               7.3   Disclosure of “CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
 17       Information or Items. Unless otherwise ordered by the Court or permitted in
 18       writing by the Designating Party, a Receiving Party may disclose any information
 19       or item designated “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to:
 20               (a) the Receiving Party’s Outside Counsel of Record and their employees
 21       to whom it is reasonably necessary to disclose the information for this litigation;
 22               (b) Experts (as defined in this Order) of the Receiving Party to whom
 23       disclosure is reasonably necessary for this litigation and who have signed the
 24       “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 25               (d) the Court, jury, and court personnel;
 26               (e) court reporters and their staff;
 27 ///
 28 ///

                                                    13
      QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 14 of 21 Page ID
                                 #:2468



  1               (f) professional jury or trial consultants, and Professional Vendors to
  2      whom disclosure is reasonably necessary for this litigation and who have signed
  3      the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  4               (g) the author or recipient of a document containing the information or a
  5      custodian or other person who otherwise possessed or knew the information;
  6               (h) during their depositions, the Designating Party; and
  7               (i) any mediator who is assigned to hear this matter, and his or her staff,
  8      subject to their agreement to maintain confidentiality to the same degree as
  9      required by this Protective Order.
 10      8.       Protected Material Subpoenaed Or Ordered Produced In
 11      Other Litigation
 12               If a Party is served with a subpoena or a court order issued in other litigation
 13      that compels disclosure of any information or items designated in this action as
 14      “CONFIDENTIAL” or “CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
 15      that Party must:
 16               (a) promptly notify the Designating Party in writing and provide a copy of
 17      the subpoena or court order to the Designating Party;
 18               (b) promptly notify, in writing, the party who caused the subpoena or order
 19      to issue that some or all of the material covered by the subpoena or order is subject
 20      to this Protective Order and provide a copy of this Stipulated Protective Order to
 21      such party; and
 22               (c) cooperate with respect to all reasonable procedures sought to be
 23      pursued by the Designating Party whose Protected Material may be affected.
 24               If the Designating Party timely seeks a protective order, the Party served
 25      with the subpoena or court order shall not produce any information designated as
 26      “CONFIDENTIAL” or “CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
 27      before a determination by the court from which the subpoena or order issued,
 28      unless the Party has obtained the Designating Party’s permission or unless

                                                    14
      QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 15 of 21 Page ID
                                 #:2469



  1      otherwise required by the law or court order. The Designating Party shall bear the
  2      burden and expense of seeking protection in that court of its confidential material
  3      – and nothing in these provisions should be construed as authorizing or
  4      encouraging a Receiving Party in this action to disobey a lawful directive from
  5      another court.
  6      9.       A Non-Party’s Protected Material Sought To Be Produced In This
  7      Litigation
  8               (a)       The terms of this Order are applicable to information produced by a
  9      Non-Party          through    a   subpoena     or    otherwise    and    designated    as
 10      “CONFIDENTIAL” or “CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
 11      Such information produced by Non-Parties in connection with this litigation is
 12      protected by the remedies and relief provided by this Order. Nothing in these
 13      provisions should be construed as prohibiting a Non-Party from seeking additional
 14      protections.
 15               (b)       In the event that a Party is required, by a valid discovery request, to
 16      produce a Non-Party’s confidential information in its possession, and the Party is
 17      subject to an agreement with the Non-Party not to produce the Non-Party’s
 18      confidential information, then the Party shall:
 19               1.        promptly notify, in writing, the Requesting Party and the Non-Party
 20      that some or all of the information requested is subject to a confidentiality
 21      agreement with a Non-Party;
 22               2.        promptly provide the Non-Party with a copy of the Stipulated
 23      Protective Order, the relevant discovery request(s), and a reasonably specific
 24      description of the information requested; and
 25               3. make the information requested available for inspection by the Non-
 26      Party.
 27                   (c)   If the Non-Party fails to object or seek a protective order from
 28      this Court within fourteen (14) days of receiving the notice and accompanying

                                                      15
      QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 16 of 21 Page ID
                                 #:2470



  1      Court within fourteen (14) days of receiving the notice and accompanying
  2      information, the Receiving Party may produce the Non-Party’s confidential
  3      information to the discovery request. If the Non-Party timely seeks a protective
  4      order, the Receiving Party shall not produce any information in its possession or
  5      control that is subject to the confidentiality agreement with the Non-Party before
  6      a determination by the Court unless otherwise required by the law or court order.
  7      Absent a court order to the contrary, the Non-Party shall bear the burden and
  8      expense of seeking protection in this court of its Protected Material.
  9      10.      Unauthorized Disclosure of Protected Material
 10               If a Receiving Party learns that, by inadvertence or otherwise, it has
 11      disclosed Protected Material to any person or in any circumstance not authorized
 12      under this Stipulated Protective Order, the Receiving Party must immediately
 13      (a) notify the Designating Party of the unauthorized disclosures in writing, (b) use
 14      its best efforts to retrieve all unauthorized copies of the Protected Material,
 15      (c) inform the person or persons to whom unauthorized disclosures were made of
 16      all the terms of this Order, and (d) request such person or persons to execute the
 17      “Acknowledgment and Agreement to Be Bound” that is attached as Exhibit A.
 18      11.      Inadvertent Production of Privileged Or Otherwise Protected Material
 19               If through inadvertence, a Party or Non-Party produces or provides
 20      discovery that it, he or she believes is subject to a claim of attorney-client privilege
 21      or work product immunity, the Designating Party or Non-Party may give written
 22      notice to the Receiving Party that the document is subject to a claim of attorney-
 23      client privilege or work product immunity and request that the document be
 24      returned to the producing Party or Non-Party. The Receiving Party shall promptly
 25      return to the producing Party or Non-Party the inadvertently disclosed document
 26      and all copies of such document and may not sequester, use or disclose the
 27      information until the claim is resolved. This includes a restriction against
 28      presenting the information to the Court for a determination of the claim. Return

                                                  16
      QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 17 of 21 Page ID
                                 #:2471



  1       of the document by the Receiving Party shall not constitute an admission or
  2       concession, or permit any inference, that the returned document is, in fact,
  3       properly subject to a claim of attorney-client privilege or work product immunity,
  4       nor shall it foreclose any Party from moving the Court for an Order that such
  5       document has been improperly designated or should be producible for reasons
  6       other than a waiver caused by the inadvertent production.
  7       12.     Miscellaneous
  8               12.1   Right to Further Relief. Nothing in this Order abridges the right of
  9       any person to seek its modification by the Court in the future.
 10               12.2   Right to Assert Other Objections. Nothing contained in this
 11       Protective Order shall affect the right of any Party or Non-Party to make any
 12       objection, claim any privilege, or otherwise contest any request for production of
 13       documents, interrogatory, request for admission, or question at a deposition or to
 14       seek further relief or protective orders from the Court in accordance with the
 15       Federal Rules of Civil Procedure and the Local Rules. Similarly, no Party waives
 16       any right to object on any ground to use in evidence of any of the material covered
 17       by this Protective Order. Nothing in this Protective Order shall constitute an
 18       admission or waiver of any claim or defense by any Party.
 19               12.3   Filing Protected Material. Any Receiving Party is authorized under
 20       Local Rule 79-5, as such Rule may be amended from time to time, to request the
 21       filing under seal with the Court of any brief, document or materials that are
 22       designated as Protected Material under this Order. A Party that seeks to file under
 23       seal any Protected Material must comply with Local Rule 79-5, and may only file
 24       such Protected Material under seal pursuant to a Court order authorizing the
 25       sealing. A Receiving Party shall not file any Protected Material in the public
 26       record.
 27 ///
 28 ///

                                                  17
      QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 18 of 21 Page ID
                                 #:2472



  1               12.4   The parties to the litigation agree to be bound by the terms of this
  2      Protective Order upon submission of same to the Court for entry in this matter,
  3      prior to actual execution and entry of this Protective Order by the Court.
  4               12.5   This Order does not limit the admissibility of any evidence.
  5      13.      Final Disposition
  6               Within 60 days after the final disposition of this action, as defined in
  7      Section 4, each Receiving Party must return all Protected Material to the
  8      Producing Party or destroy such material. As used in this subdivision, “all
  9      Protected Material” includes all copies, abstracts, compilations, summaries, and
 10      any other format reproducing or capturing any of the Protected Material. Whether
 11      the Protected Material is returned or destroyed, the Receiving Party must submit
 12      a written certification to the Producing Party (and, if not the same person or entity,
 13      to the Designating Party) by the 60-day deadline that (1) identifies (by category,
 14      where appropriate) all the Protected Material that was returned or destroyed and
 15      (2) affirms that the Receiving Party has not retained any copies, abstracts,
 16      compilations, summaries or any other format reproducing or capturing any of the
 17      Protected Material. Counsel are entitled to retain an archival copy of all pleadings,
 18      motion papers, trial, deposition, and hearing transcripts, legal memoranda,
 19      correspondence, deposition and trial exhibits, expert reports, attorney work
 20      product, and consultant and expert work product, even if such materials contain
 21      Protected Material. Any such archival copies that contain or constitute Protected
 22      Material remain subject to this Protective Order as set forth in Section 4.
 23               IT IS SO STIPULATED.
 24
 25
 26
 27
 28

                                                  18
      QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 19 of 21 Page ID
                                 #:2473



  1      DATED: May 3, 2021            QUARLES AND BRADY, LLP
  2
                                         By:/s/Michael W. Carwin
  3                                        Nicole M. Murray
  4                                        Johanna M. Wilbert
                                           Michael W. Carwin
  5
                                           Attorneys for Plaintiffs Vital
  6                                        Pharmaceuticals, Inc. and JHO
  7                                        Intellectual Property Holdings, LLC

  8      DATED: May 3, 2021            GORDON REES SCULLY MANSUKHANI,
  9                                    LLP

 10                                      By: /s/ A. Louis Dorny (with consent)
 11                                        Susan B. Meyer
                                           A. Louis Dorny
 12
                                           Attorneys for Plaintiffs Vital
 13                                        Pharmaceuticals, Inc. and JHO
 14                                        Intellectual Property Holdings, LLC

 15      DATED: May 3, 2021            NEXIO, PC
 16
 17                                      By: /s/Imran F. Vakil (with consent)
                                           Imran F. Vakil
 18                                        Randal Robinson
 19                                        Attorney for Defendant PhD
                                           Marketing, Inc.
 20
 21      DATED: May 3, 2021            ALLEN, DYER, DOPPELT & GILCHRIST,
 22                                    P.A.

 23
                                         By: /s/Ryan Santurri (with consent)
 24                                        Ryan Santurri
 25                                        Attorney for Defendant PhD
                                           Marketing, Inc.
 26
 27
 28

                                          19
      QB\66281096.2
Case 2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 20 of 21 Page ID
                                 #:2474


1                PURSUANT TO STIPULATION, AND BASED ON GOOD CAUSE
2       SHOWN, IT IS SO ORDERED AS MODIFIED.
3
                 DATED: May 4, 2021
4
5
6                                                /s/
                                       Hon. Jacqueline Chooljian
7                                      United States Magistrate Judge
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                         20
     QB\66281096.2
1
Case
                                   EXHIBIT A
     2:20-cv-06745-RSWL-JC Document 137 Filed 05/04/21 Page 21 of 21 Page ID
                                 #:2475
2                     ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
3                I,                                                   [print or type full name], of
4
5                                                                     [print or type full address],
6       declare under penalty of perjury that I have read in its entirety and understand the
7       Stipulated Protective Order that was issued by the United States District Court for the
8       Central District of California on May 4, 2021 in the case of Vital Pharmaceuticals,
9       Inc. v. PhD Marketing, Inc., Case No. 2:20-cv-06745- RSWL-JCx. I agree to comply
10      with and to be bound by all the terms of this Stipulated Protective Order and I
11      understand and acknowledge that failure to so comply could expose me to sanctions
12      and punishment in the nature of contempt. I solemnly promise that I will not disclose
13      in any manner any information or item that is subject to this Stipulated Protective
14      Order to any person or entity except in strict compliance with the provisions of this
15      Order.
16               I further agree to submit to the jurisdiction of the United States District Court
17      for the Central District of California for the purpose of enforcing the terms of this
18      Stipulated Protective Order, even if such enforcement proceedings occur after
19      termination of this action.
20               I hereby appoint                                     [print or type full name] of
21
22                                            [print or type full address and telephone number]
23      as my California agent for service of process in connection with this action or any
24      proceedings related to enforcement of this Stipulated Protective Order.
25      Date:
26      City and State where sworn and signed:
27      Printed name:
28      Signature:



     QB\66281096.2
                                                    -20-
